        Case 1:24-cv-12843-PBS             Document 28      Filed 06/12/25      Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 LESLIE COURTNEY

                Plaintiff,

 v.                                                          C.A. No. 1:24-cv-12843-PBS

 PAPA, INC.

                Defendant.

PLAINTIFF, LESLIE COURTNEY’S MEMORANDUM OF LAW IN SUPPORT OF ITS
   MOTION TO COMPEL ANSWERS TO FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 37 of the Federal Rules of Civil Procedure, Plaintiff Leslie

Courtney (“Plaintiff” or “Ms. Courtney”) moves for an order compelling Defendant, Papa, Inc.

to respond to Plaintiff’s First Set of Interrogatories (“Interrogatories”) and submits this

Memorandum of Law in support thereof.

                                     I.      BACKGROUND

       Plaintiff filed her six-count Complaint asserting federal and state law claims related to the

harassment, discrimination, and retaliation she endured on the basis of her sex/gender during her

employment with Defendant.

       Defendant moved to compel arbitration on January 2, 2025, and the Court denied

Defendant’s Motion after a hearing on March 7, 2025.

       On April 25, 2025, Plaintiff served the Interrogatories on Defendant, which sought

answers to twenty-five numbered interrogatories. See Exhibit 1, Interrogatories. To date,

Defendant has not responded to the Interrogatories in any capacity. Pursuant to Local Rule 37.1,

Plaintiff’s counsel sought to confer with Defendant’s counsel to discuss the Defendant’s failure

to answer via letter dated June 4, 2025.
        Case 1:24-cv-12843-PBS             Document 28      Filed 06/12/25      Page 2 of 3




        To date, Defendant’s counsel has not responded to the June 4, 2025 letter, nor has

Defendant served answers to the First Set of Interrogatories.

                                   II.     LEGAL ARGUMENT

        A discovery conference did not occur before the filing of the Motion because

Defendant’s counsel did not respond to Plaintiff’s counsel’s June 4, 2025 letter. Without any

objection or explanation justifying Defendant’s failure to respond to discovery, Plaintiff was

forced to petition the Court for relief.

        If a party fails to respond to requests for production of documents or interrogatories, the

party seeking discovery may move to compel production of the requested information. See Fed.

R. Civ. P. 37(a). Because Defendant has failed to respond in any manner to the Interrogatories,

the Court should grant Plaintiff’s Motion and compel the production of answers to all twenty-

five of the Interrogatories. See Ex. 1.

        Local Rule 37.1 provides that “[f]ailure of opposing counsel to respond to a request for a

discovery conference within 7 days of the request shall be grounds for sanctions, which may

include automatic allowance of the motion.” See Local R. Civ. P. 37.1(a). Because Defendant’s

counsel failed to respond to the June 4, 2024 letter, the Court should grant the Motion as a matter

of course, award Plaintiff the reasonable attorneys’ fees and costs related to the preparation and

filing of the same under Local Rule 37.1, and deem Defendant’s non-privileged objections

waived. See Bonner v. Triple S Mgmt. Corp., 68 F.4th 677, 684 (1st Cir. 2023) (noting that in

discovery, “[i]f the responding party fails to make a timely objection, or fails to state the reason

for an objection, he may be held to have waived any or all of his objections.”).

        WHEREFORE, Plaintiff, Leslie Courtney, respectfully requests that the Court enter an

order granting this Motion and:



                                                  2
        Case 1:24-cv-12843-PBS          Document 28        Filed 06/12/25      Page 3 of 3




        A. Compelling Defendant Papa, Inc. to serve answers to the Interrogatories within

            twenty (20) days from the date of entry of the order;

        B. Deeming all non-privileged based objections waived;

        C. Awarding Plaintiff her reasonable attorneys’ fees related to preparing the Motion to

            Compel and this Memorandum pursuant to Local Rule 37.1; and,

        D. Granting any further relief in Plaintiff’s favor as the Court deems just and proper.

                                              Respectfully submitted,

                                              LESLIE COURTNEY

                                              By her attorneys,

                                              /s/ Timothy C. Cavazza
                                              /s/ Jessica A. Sclafani
                                              Timothy C. Cavazza, Esq. (BBO #670227)
                                              Jessica A. Sclafani, Esq. (BBO #707997)
                                              WHELAN, CORRENTE & FLANDERS LLP
                                              100 Westminster Street, Suite 710
                                              Providence, RI 02903
                                              Phone: (401) 270-4500
                                              Fax: (401) 270-3760
                                              tcavazza@whelancorrente.com
                                              jsclafani@whelancorrente.com
Dated: June 12, 2025


                                 CERTIFICATE OF SERVICE

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will
be sent to those indicated as non-registered participants on June 12, 2025.


                                              /s/Timothy C. Cavazza


00119050.DOCX


                                                 3
